Case 4:21-cv-01741 Document 1-2 Filed on 05/26/21 in TXSD Page 1 of 9




                       EXHIBIT B
     Case 4:21-cv-01741 Document 1-21167041
                                       Filed on 05/26/21 in TXSD Page 2 of 9
                                                                                                    4/5/2021 12:00 AM
                              Harris County - County Civil Court at Law No. 1                       Teneshia Hudspeth
                                                                                                          County Clerk
                                                                                                         Harris County




                                   NO.

SAGNI JIRATA                                             IN THE COUNTY COURT AT LAW
Plaintiff,

V.                                                       NO.

WALMART INC
Defendant.                                               HARRIS COUNTY,TEXAS

                              PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES Sagni Jirata, hereinafter called Plaintiff, complaining of and about

Walmart Inc, hereinafter called Defendant, and for cause of action would show unto the Court

the following:

                            DISCOVERY CONTROL PLAN LEVEL

       1.        Plaintiff intends that discovery be conducted under Discovery Level 2.

                                     PARTIES AND SERVICE

       2.        Plaintiff, Sagni Jirata, is an Individual whose address is 6233 Gulfton Street #

3073, Houston, Texas 77081.

       3.        The last three numbers of Sagni Jirata's driver's license number are 940. The last

three numbers of Sagni Jirata's social security number are 325.

       4.        Defendant Walmart Inc, a foreign corporation licensed to do business in Texas as

a foreign corporation, may be served by serving its registered agent with process at the following

address: CT Corporation System, 1999 Bryan Street Ste 900, Dallas Texas 75201. Service of

said Defendant as described above can be effected by personal delivery.

                                  JURISDICTION AND VENUE

       5.        The subject matter in controversy is within the jurisdictional limits of this court.
              Case 4:21-cv-01741 Document 1-2 Filed on 05/26/21 in TXSD Page 3 of 9
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                 6.      Plaintiff seeks:

                         a.      only monetary relief of $250,000 or less, excluding interest, statutory or

          punitive damages and penalties, and attorney fees and costs.

                 7.      This court has jurisdiction over the parties because Defendant is a Texas resident.

                 8.      Venue in Harris County is proper in this cause under Section 15.002(a)(1) of the

          Texas Civil Practice and Remedies Code because all or a substantial part of the ev,ents or

          omissions giving rise to this lawsuit occurred in this county.

                                                       FACTS

                 9.      At all times material hereto, Defendant Walmart Inc was the owner of the

          premises located at 9460 W Sam Houston Pkwy S, Houston, TX 77099.

                 10.     On or about April 7, 2019, Sagni Jirata was an Invitee on property controlled by

          the Defendant, and was injured under the following circumstances: in the course of shopping

          and reaching for a box on a top shelf, the box fell on him injuring his neck head and back.

                                LIABILITY OF DEFENDANT WALMART INC

                 1 1.    At all times mentioned herein, Defendant Walmart Inc owned the property in

          question, located at 9460 W Sam Houston Pkwy S, Houston, TX 77099.

                 12.     At all times mentioned herein, Defendant Walmart Inc had such control over the

          premises in question that Defendant Walmart Inc owed certain duties to Plaintiff, the breach of

          Which proximately caused the injuries set forth herein.

                 13.     On or about April 7, 2019, Sagni Jirata was an Invitee on the premises owned by

          the Defendant when Sagni Jirata was injured as a result of the acts and omissions of the

          Defendant.

                                LIABILITY OF DEFENDANT WALMART INC
                                 UNDER GENERAL NEGLIGENCE THEORY
    Case 4:21-cv-01741 Document 1-2 Filed on 05/26/21 in TXSD Page 4 of 9




        14.     Defendant owed Sagni Jirata and others similarly situated the duty to provide

assistance in acquiring boxes on high shelf or not put large heavy boxes on upper shelves where

there is a reasonable probability that the box may falll injuring a customer.

        15.     Defendant breached said duty by socking and stacking heavy products in such a

manner as to become a hazard to customers.

                                      PROXIMATE CAUSE

        16.     Each and every, all and singular of the foregoing acts and omissions, on the part

of Defendant, taken separately and/or collectively, constitute a direct and proximate cause of the

injuries and damages set forth below.

                                    EXEMPLARY DAMAGES

        17.     Defendant Walmart Inc's acts or omissions described above, when viewed from

the standpoint of Defendant Walmart Inc at the time of the act or omission, involved an extreme

degree of risk, considering the probability and magnitude of the potential harm to Plaintiff and

others. Defendant Walmart Inc had actual, subjective awareness of the risk involved in the

above described acts or omissions, but nevertheless proceeded with conscious indifference to the

rights, safety, or welfare of Plaintiff and others.

        18.     Based on the facts stated herein, Plaintiff requests exemplary damages be awarded

to Plaintiff from Defendant Walmart Inc.

                         DAMAGES FOR PLAINTIFF,SAGNI JIRATA

        19.     As a direct and proximate result of the occurrence made the basis of this lawsuit,

and Defendant's acts as described herein, Plaintiff, Sagni Jirata was caused to suffer neck, head,

shoulder and back injuries, and to endure anxiety, pain, and illness resulting in damages more

fully set forth below.
    Case 4:21-cv-01741 Document 1-2 Filed on 05/26/21 in TXSD Page 5 of 9




       20.       As a direct and proximate result of the occurrence made the basis of this lawsuit,

Plaintiff, Sagni Jirata has incurred the following damages:

                 A.     Reasonable medical care and expenses in the past. These expenses were
                        incurred by Plaintiff, Sagni Jirata for the necessary care and treatment of
                        the injuries resulting from the accident complained of herein and such
                        charges are reasonable and were usual and customary charges for such
                        services in Harris County, Texas;

                 B.     Reasonable and necessary medical care and expenses which will, in all
                        reasonable probability, be incurred in the future;

                 C.     Physical pain and suffering in the past;

             •   D.     Physical pain and suffering in the future; and

                 E.     Loss of earnings in the past.

       21.       By reason of the above, Plaintiff, Sagni Jirata has suffered losses and damages in

a sum within the jurisdictional limits of the Court and for which this lawsuit is brought.

                                             PRAYER

       WHEREFORE,PREMISES CONSIDERED, Plaintiff, Sagni Jirata, respectfully prays

that the Defendant be cited to appear and answer herein, and that upon a final hearing of the

cause, judgment be entered for the Plaintiff against Defendant for damages in an amount within

the jurisdictional limits of the Court; exemplary damages, excluding interest, and as allowed by

Sec. 41.008, Chapter 41, Texas Civil Practice and Remedies Code; together with pre-judgment

interest (from the date of injury through the date ofjudgment) at the maximum rate allowed by

law; post-judgment interest at the legal rate, costs of court; and such other and further relief to

which the Plaintiff may be entitled at law or in equity.

                                                              •

                                              Respectfully submitted,
Case 4:21-cv-01741 Document 1-2 Filed on 05/26/21 in TXSD Page 6 of 9




                               By: /s/ Willard P. Conrad
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                                    Sagni Jirata
      Case 4:21-cv-01741 Document 1-21167041
                                        Filed on 05/26/21 in TXSD Page 7 of 9                      5/26/2021 3:02 PM
                             Harris County - County Civil Court at Law No. 1                       Teneshia Hudspeth
                                                                                                         County Clerk
                                                                                                        Harris County


                                       CAUSE NO. 1167041

SAGNI JIRATA                                       §         IN THE COUNTY COURT AT LAW
           Plaintiff,                              §
                                                   §
vs.                                                §         AT LAW NO. 1
                                                   §
WAL-MART STORES, INC.                              §
    Defendant.                                     §
                                                   §         HARRIS COUNTY, TEXAS

                            DEFENDANT’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

        Defendant WALMART STORES TEXAS, LLC, incorrectly sued as Wal-Mart Stores,

Inc., files this Original Answer to Plaintiff’s Original Petition (“Petition”), and in support thereof,

would respectfully show the Court the following:

                                        I.   General Denial

        1.      Under Rule 92 of the Texas Rules of Civil Procedure, Defendant generally denies

each and every allegation made against Defendants in Plaintiff’s Original Petition.

                                    II. Affirmative Defenses

        2.      Defendant asserts the affirmative defense of contributory negligence. The actions

of Plaintiff caused or contributed to Plaintiff’s injures so that the claims are barred or, in the

alternative, must be reduced in accordance with the relative degree of Plaintiff’s own negligence.

Defendant requests the trier of fact to determine Plaintiff’s liability and percentage of

responsibility pursuant to Texas Civil Practice & Remedies Code section 33.003.

        3.      Defendant is entitled to all caps and limitations on damages pursuant to the Texas

Civil Practice & Remedies Code.

        4.      Defendant alleges that Plaintiff’s injuries and/or damages were caused by an

intervening event for which Defendant has no liability.
                                                   1
HOULITIGATION:1731010.1
      Case 4:21-cv-01741 Document 1-2 Filed on 05/26/21 in TXSD Page 8 of 9




        5.      Defendant affirmatively pleads that Plaintiff’s injuries were caused by the actions

or inactions of parties not under Defendant’s control.

        6.      Defendant affirmatively pleads the defense set forth in Texas Civil Practice and

Remedies Code Section 18.091, requiring Plaintiff to prove Plaintiff’s loss of earning, loss of

contributions of a pecuniary value, and/or loss of earning capacity in the form of a net loss after

reduction for income tax payments or unpaid tax liability on said loss or earning claim pursuant

to any federal income tax law.

        7.      To the extent that Plaintiff’s medical expenses exceed the amount actually paid on

Plaintiff’s behalf to Plaintiff’s medical providers, Defendant asserts the statutory defense set

forth in Section 41.0105 of the Texas Civil Practice and Remedies Code. Thus, recovery of

Plaintiff’s medical or health care expenses is limited to the amount actually paid or incurred by

or on behalf of Plaintiff.

        8.      Plaintiff’s claims for pre-judgment interest are limited by the dates and amounts

set forth in Section 304.104 of the Texas Finance Code and Section 41.007 of the Texas Civil

Practice & Remedies Code.

                                      III. Jury Demand

        9.      Defendant hereby exercises its rights to demand a trial by jury under Rule 216 of

the Texas Rules of Civil Procedure on all issues triable by a jury.

                                          IV. Prayer

        FOR THESE REASONS, Defendant WALMART STORES TEXAS, LLC., Incorrectly

sued as Wal-Mart Stores, Inc., respectfully prays that the Court enter a judgment that:




                                                 2
HOULITIGATION:1731010.1
      Case 4:21-cv-01741 Document 1-2 Filed on 05/26/21 in TXSD Page 9 of 9




        1.      Dismisses all claims against Defendant Walmart Stores Texas, LLC, incorrectly

       sued as Wal-Mart Stores, Inc., and orders that Plaintiff take nothing by reason of

       Plaintiff’s allegations.

        2.      Orders that Defendant recover all costs incurred in defense of Plaintiff’s claims,

       and that Defendant’s judgment against Plaintiff include the following:

             a. Costs of suit; and

             b. Such other and further relief, general and special, at law or in equity, to which

                Defendant may be justly entitled.

                                             Respectfully submitted,
                                             MEHAFFYWEBER, P.C.

                                             By:/s/Maryalyce W. Cox
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                                             ATTORNEYS FOR DEFENDANT



                                  CERTIFICATE OF SERVICE

        This will certify that a copy of the foregoing document was furnished to counsel for
Plaintiff on May 26, 2021, pursuant to the Texas Rules of Civil Procedure.

                                             Maryalyce W. Cox
                                             Maryalyce W. Cox




                                                3
HOULITIGATION:1731010.1
